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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIR E

UNITED STATES OF AMERICA

               V.                                     1 :08-CR-119-01-SM

EDWARD TORRES

                         PRELIMINARY ORDER OF FORFEITUR E

        1 . The Indictment contains a Notice of Criminal Forfeiture which provides that, upon

conviction of the offenses charged in Count One of the Indictment, conspiracy to distribute in

excess of five hundred (500) grams of cocaine, in violation of Title 21, United States Code,

Sections 841(a)(1), 841(b)(1)(B)(ii) and 846, Count Two of the Indictment, possession with the

intention of distributing marijuana on June 13, 2008, a schedule I controlled substance, in

violation of Title 21, United States Code, Section 841(a)(1), Count Three of the Indictment,

possession with the intention of distributing cocaine on June 13, 2008, a schedule II controlled

substance, in violation of Title 21, United States Code, Section 841 (a)(1), Count Four of the

Indictment, possession with the intention of distributing 3,4 methylene dioxymethamphetamine

(a/k/a Ecstasy) on June 13, 2008, a schedule I controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1), Count Six of the Indictment, possession of a firearm on

June 13, 2008 in furtherance of a drug trafficking crime for which he may be prosecuted in a

court of the United States (as charged in Counts One (1), Two (2), Three (3) and Four (4)), in

violation of Title 18, United States Code, Section 924(c)(1)(A) ; and Count Seven of the

Indictment, possession of a firearm on June 13, after having previously been convicted of a

felony, to wit, the June 11, 1997, conviction in Hillsborough Superior Court, New Hampshire,

for possession of a controlled substance with intent to sell (NH RSA 318-B :2), ; the defendant,

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Edward Torres, shall forfeit to the United States the following items of property pursuant to 2 1

U.S .C. section 853(a)(1), and (2) .

        (1) a Savage, Springfield Model 67H, 12 gauge pump action shotgun, serial number

                A448428 ;

        (2) a High-Point Firearms, Model 995, 9mm rifle, serial number B45142 ;

        (3) a Ruger, Model P85, 9mm handgun, serial number 300-20134 ; and

        (4) an ACP Walther PPK, .380 caliber handgun, serial number K013254 .

        2. The defendant, Edward Torres, has pleaded guilty to the charges contained in Counts

One Two, Three, Four, Six and Seven of the Indictment . As part of defendant Torres' Plea

Agreement he has agreed to forfeit the firearms (1) - (4), mentioned in paragraph 1, above .

        3. Based upon the provisions of the Plea Agreement, firearms (1) -(4) shall be forfeited

        to the United States .

        IT IS ORDERED that all of the defendant's right, title and interest in the following assets

are hereby forfeited to the United States :

        (1) a Savage, Springfield Model 67H, 12 gauge pump action shotgun, serial number

                A448428 ;

        (2) a High-Point Firearms, Model 995, 9mm rifle, serial number B45142 ;

        (3) a Ruger, Model P85, 9mm handgun, serial number 300-20134 ; and

        (4) an ACP Walther PPK, .380 caliber handgun, serial number K013254 .

        IT IS FURTHER ORDERED that this Preliminary Order of Forfeiture shall become final

as to the defendant at the time of sentencing, and shall be made a part of the sentence and

included in the judgment, pursuant to Rule 32 .2(a)(3) .


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           The Clerk shall send copies of this Preliminary Order of Forfeiture to the United States

Attorney's Office, the United States Probation Office and counsel for all parties, and shall send

four Certified Copies of this Preliminary Order of Forfeiture to the United States Attorney's

Office .

Entered       September
      15 this day  of , 2009




                                                 United States District Judge
